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                         THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,
                                                    CIVIL ACTION NO. 1:20-cv-00395-MN
        v.

 LIVEXLIVE MEDIA, INC.,

                Defendant.



                               PLAINTIFF’S NOTICE OF SERVICE

       Pursuant to Local Rule 5.4(b) in accordance with the Court’s Scheduling Order [Doc. 15],

please take notice that on May 19, 2021, counsel for Plaintiff Rothschild Broadcast Distribution

Systems, LLC produced its initial claim chart relating each known accused product to the asserted

claims each such product allegedly infringes as Exhibit A (RBDS 001-016) to Plaintiff’s

Infringement Contentions and Accused Products upon all counsel of record for Defendant

LiveXLive Media, Inc. by email.




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Dated: July 28, 2021               Respectfully submitted,

                                   CHONG LAW FIRM, P.A.

                                   /s/ Jimmy Chong
                                   Jimmy Chong (#4839)
                                   2961 Centerville Rd., Ste 350
                                   Wilmington, DE 19808
                                   Telephone: (302) 999-9480
                                   Facsimile: (302) 800-1999
                                   Email: chong@chonglawfirm.com

                                   OF COUNSEL

                                   JAY JOHNSON (Admitted Pro Hac Vice)
                                   State Bar No. 24067322
                                   KIZZIA JOHNSON, PLLC
                                   1910 Pacific Ave., Suite 13000
                                   Dallas, Texas 75201
                                   (214) 451-0164
                                   Fax: (214) 451-0165
                                   jay@kjpllc.com

                                   ATTORNEYS FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that all counsel of record for Defendant were served with a copy
of this document via email on July 28, 2021.


                                                    /s/ Jimmy Chong
                                                    Jimmy Chong (#4839)




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